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                EXHIBIT A-5
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 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                                        Civil Rights Department
                       Under the California Fair Employment and Housing Act
 3
                                    (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Blake Lively                                                     CRD No. 202412-27269003

 6                                    Complainant,
     vs.
 7
      Wayfarer Studios LLC
 8
      ,
 9
      Justin Baldoni
10    ,

11    Jamey Heath
      ,
12
      Steve Sarowitz
13    ,
14    Melissa Nathan
      ,
15
      The Agency Group PR LLC
16
      ,
17
      Jennifer Abel
18    ,

19    RWA Communications LLC
      ,
20
      Jed Wallace
21    ,

22    Street Relations Inc.
      ,
23
                                      Respondents
24
25
26                                                   -1-
                                     Complaint – CRD No. 202412-27269003
27
     Date Filed: December 20, 2024
28
                                                                           CRD-ENF 80 RS (Revised 2024/05)
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 1
     1. Respondent Wayfarer Studios LLC is an employer subject to suit under the California Fair
 2   Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

 3   2.Complainant is naming Justin Baldoni individual as Co-Respondent(s).
     Complainant is naming Jamey Heath individual as Co-Respondent(s).
 4   Complainant is naming Steve Sarowitz individual as Co-Respondent(s).
     Complainant is naming Melissa Nathan individual as Co-Respondent(s).
 5   Complainant is naming The Agency Group PR LLC business as Co-Respondent(s).
 6   Complainant is naming Jennifer Abel individual as Co-Respondent(s).
     Complainant is naming RWA Communications LLC business as Co-Respondent(s).
 7   Complainant is naming Jed Wallace individual as Co-Respondent(s).
     Complainant is naming Street Relations Inc. business as Co-Respondent(s).
 8
     3. Complainant Blake Lively, resides in the City of , State of .
 9
10 4. Complainant alleges that on or about December 20, 2024, respondent took the
   following adverse actions:
11
     Complainant was harassed because of complainant's sex/gender, sexual harassment-
12 hostile environment.
13 Complainant experienced retaliation because complainant reported or resisted any form
14 of discrimination or harassment and as a result was other adverse action(s).
15
     Additional Complaint Details: Complainant Blake Lively alleges that Respondents
16   Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, Melissa Nathan, the
     Agency Group PR LLC, Jennifer Abel, RWA Communications LLC, Jed Wallace, and/or
17   Street Relations Inc. engaged in a variety of conduct in violation of California Government
     Code section 12940 (the "FEHA") and Title VII of the Civil Rights Act of 1964 (“Title VII”).
18   The conduct includes: sexual harassment; retaliation; failure to investigate, prevent, and/or
     remedy harassment; and aiding and abetting harassment and retaliation. Please see
19   attached complaint for specific details.

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                                                                            CRD-ENF 80 RS (Revised 2024/05)
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 1 VERIFICATION
 2 I, Esra Hudson, am the Attorney in the above-entitled complaint. I have read the
   foregoing complaint and know the contents thereof. The matters alleged are based
 3
   on information and belief, which I believe to be true.
 4
   On December 20, 2024, I declare under penalty of perjury under the laws of the State
 5 of California that the foregoing is true and correct.
 6                                                                            Los Angeles, CA
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